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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 BENJAMIN STRUSOWSKI, et al.,                     :
                                                  :
         Plaintiffs,                              :
                                                  :
                v.                                :             CIVIL ACTION
                                                  :
 NEMOURS FOUNDATION,                              :             NO. 23-00537
                                                  :
         Defendant.                               :
                                                  :
                                                  :

                                            ORDER

       AND NOW, this 14th of December, 2023, upon consideration of Defendant’s Motion to

Dismiss for Failure to State a Claim (ECF No. 17), and all papers submitted in support thereof or

in opposition thereto, it is hereby ORDERED that said Motion is GRANTED in PART and

DENIED in PART for the reasons stated in this Court’s accompanying Memorandum.

       It is FURTHER ORDERED that the Defendant shall file its Answer to the Complaint

within fourteen (14) days after the entry of this Order. The Parties are to proceed in accordance

with this Court’s April 25, 2023 Scheduling Order (ECF No. 24).

       IT IS SO ORDERED.


                                                      BY THE COURT:

                                                      /s/ John Milton Younge
                                                      Judge John Milton Younge
